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 1   RANDY SUE POLLOCK
     Attorney at Law (CSBN 64493)
 2   2831 Telegraph Avenue
     Oakland, CA 94609
 3   Telephone: (510) 763-9967
     Facsimile: (510) 272-0711
 4
     MICHAEL STEPANIAN
 5   Attorney at Law (CSBN 037712)
     819 Eddy Street
 6   San Francisco, CA 94109
     Telephone: (415) 771-6174
 7   Facsimile: (415) 474-3748
 8
     Attorneys for Defendant
 9   JAMES ASHFORD WHITE
10
11                               UNITED STATES DISTRICT COURT
12                               EASTERN DISTRICT OF CALIFORNIA
13                                               –ooo–
14    UNITED STATES OF AMERICA,                       CR. S-07-570-FCD
15                  Plaintiff,
16    vs.                                             STIPULATION AND ORDER TO
17                                                    CONTINUE DATE OF SENTENCING
                                                      _____________________________
18    JAMES ASHFORD WHITE,

19                  Defendant.

20                                                /

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            IT IS HEREBY STIPULATED by and between Randy Sue Pollock and Michael
22
     Stepanian, counsel for defendant James Ashford White, and Assistant United States Attorney
23
     Heiko Coppola that the sentencing presently set for May 24, 2010 be continued to Monday,
24
     July 26, 2010 at 10 a.m. This continuance is at the request of the defense in order to have
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     sufficient time to prepare for sentencing. Counsel need to meet and confer with Mr. White
26
     who lives in Mendocino County.
27
     ///
28
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 1         U.S. Probation Officer Julie Fowler has no objection to this continuance.
 2
 3   Date: May 3, 2009                                ___________/s/______________
                                                      Randy Sue Pollock
 4                                                    Michael Stepanian
                                                      Counsel for Defendant
 5                                                    JAMES ASHFORD WHITE
 6
     Date: May 3, 2010                                __________/s/________________
 7                                                    Heiko Coppola
                                                      Assistant United States Attorney
 8
 9
           IT IS SO ORDERED:
10
11   Date: May 4 2010
12                                            _______________________________________
                                              FRANK C. DAMRELL, JR.
13                                            UNITED STATES DISTRICT JUDGE
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